This case was here upon a former appeal and is reported in233 Wis. 500, 290 N.W. 208, to which reference is made for a detailed statement of the facts, the subject matter of the litigation, disposition of the case by the trial court upon the first trial, and the disposition of the matter made by this court upon appeal.  The case was remitted to the trial court, and judgment was entered pursuant to the mandate of this court.
Upon hearing, the trial court found that at the time of the decision of this court, February 13, 1940, neither the plaintiffs nor the defendants were permitted to log the timber and wood products from the property described in Exhibit 1 and Exhibit 2 because the time within which timber could be cut on said lands by the plaintiffs had expired on November 3, *Page 117 
1939; that the status of the plaintiffs and defendants with reference to whether or not they have breached their contracts was the same after the trial as it was before the trial of the original case; that there was due on the mortgage from Jeske to Hotz Manufacturing Company $332.57 with interest on $287.22 at seven per cent from October 14, 1939; that Aderman purchased the timber described in Exhibit 3 from Jeske knowing that the defendants had an interest in said timber and that he purchased the same subject to the defendants' interest and rights therein; that Aderman cut, delivered, and sold to the Badger Wood Plug Company of Appleton eighty-four cords of white birch at $10 per cord, the white birch being covered by the mortgage; that Aderman cut, delivered, and sold to the Iwen Box  Veneer Company six cords of white birch at $6 per cord, which was also covered by the mortgage; that Aderman knowing that the defendants herein had an interest in the timber he purchased from Jeske, cut, sold, and disposed of the same to third parties without accounting to the defendants herein for the proceeds thereof, and was liable to defendants to the extent of their mortgage interest.
As a matter of law the court concluded that the defendants are entitled to a judgment against Jeske for the balance due on the mortgage; that the defendants are entitled to judgment against Aderman for the value of the wood products purchased by Aderman from Jeske to the extent of the price received by him therefor, not exceeding the amount of the judgment against Jeske; that the defendants are entitled to the proceeds now in the hands of the Badger Wood Plug Company at Appleton and now in the hands of the Iwen Box Veneer Company for the balance of the purchase price of the wood products sold and delivered by Aderman from the wood products purchased from Jeske and covered by the mortgage to the defendants not exceeding the amount of the judgment.  There was a further conclusion with respect to *Page 118 
the effect of payments made by Jeske or Aderman upon the amount due and owing by the other.  Judgment was entered accordingly, from which Jeske and Aderman appeal.
The following opinion was filed April 15, 1941:
Upon this appeal Jeske and Aderman contend that the defendants breached the contract with Jeske. That matter, however, is clearly foreclosed by the judgment on the first trial.  Jeske and Aderman next contend that the court erred in directing judgment for the amount remaining due on the mortgage.  The judgment was entered against Aderman upon the theory that the value of the mortgaged timber sold and disposed of by Aderman was largely in excess of the amount due upon the mortgage, and this matter will be discussed in connection with the measure of damages.
It is next contended that the court erred in not awarding damages to Jeske and Aderman on account of the breach of contract on the part of the defendants.  This contention is also disposed of by the findings and determination made upon the first appeal.
The plaintiffs contend that the evidence does not sustain the finding of the trial court as to the amount of damages. This depends upon whether the defendants are entitled to recover under sec. 331.18, Stats., or whether the rule applicable in trover is to be followed.  By sec. 331.18 it is provided that in all actions to recover damages for timber wrongfully cut, the highest market value of such logs, timber, or lumber, in whatsoever place, shape, or condition, manufactured or unmanufactured, the same shall have been at any time before *Page 119 
the trial, while in the possession of the trespasser, shall be found or awarded to the plaintiff if he succeeds.
Referring now to Exhibit 1, it appears that the license to enter and cut was given by Matt Stoehr to the defendants, the contract providing:
"The party of the second part [defendants] shall have the right to enter upon and remove the said timber at any time within two years from date hereof."
The arrangement between Jeske and the defendants was that Jeske should cut and deliver timber of the specified dimensions and to receive therefor the agreed price.  The arrangement between Jeske and the defendants contained no specific provision in regard to right of entry.  The title to the land upon which the timber stood remained in Stoehr.  When Aderman, with notice of the defendants' rights in the timber and their exclusive right to enter, went upon the lands and cut the timber, there can be no doubt that as to the defendants, the timber was wrongfully cut, Aderman having no license to cut from anyone.  He had none from Jeske because Jeske entered under the license of the defendants.  While the arrangement between Jeske and the defendants has been held to be a mortgage, the parties had certain contractual rights and obligations not ordinarily found in a mortgage.  It is apparent from the arrangement that the main purpose of the defendants was to procure the delivery of timber for use in their plant and not merely to put out their funds upon interest. Jeske's right was limited to entering upon the lands for the purpose of cutting the timber for delivery to the defendants under his contract.  His obligation under the contract did not terminate when the $500 was repaid.  He was under a duty to cut and deliver all of the timber of the specified dimensions. Sec. 331.18, Stats., has been held to apply to a wrongful cutting by one rightfully in possession of lands upon which the *Page 120 
timber stood.  Everett v. Gores (1895), 89 Wis. 421,62 N.W. 82; Webber v. Quaw (1879), 46 Wis. 118, 122,49 N.W. 830.
In Webber v. Quaw the court said:
"We hold, therefore, that the statute, both in terms and intention, comprehends all cases of unlawful and unauthorized cutting of logs and timber on the lands of another, or where such cutting is done without right, and fixes the invariable rule of damages in all such cases as the highest market value of such logs or timber between the time of such cutting and the trial of the action," except where a statutory affidavit is filed.
The cutting by Aderman having been as to the defendants wrongful, the statutory rule applies, and the trial court correctly assessed the damages.
Plaintiffs also seek to secure a review of rulings made on the first appeal.  Those matters are not open to review upon this appeal.  The time within which the timber could be removed having expired, the mandate of this court in effect directed that judgment be entered for defendants for the amount remaining due on account of the mortgage.  The judgment complies with the mandate.
By the Court. — Judgment affirmed.
A motion for a rehearing was denied, without costs, on June 12, 1941. *Page 121 